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 2                                 IN THE UNITED STATES DISTRICT COURT
 3                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 4                                            OAKLAND DIVISION
 5

 6    UNITED STATES OF AMERICA,                               Case No.: 4:20-CR-00266-JST
 7                    Plaintiff,                              [PROPOSED] ORDER SETTING POST-
                                                              TRIAL MOTIONS BRIEFING
 8            v.                                              SCHEDULE AND RESETTING
                                                              SENTENCING HEARING
 9    MICHAEL ROTHENBERG,
                                                              Hearing Date:    May 17, 2024
10                    Defendant.
                                                              Hearing Time:    9:30 a.m.
11

12         Based on the stipulation of the parties, the Court hereby sets the following schedule for
13   renewed post-trial motions, including any motions under Federal Rules of Criminal Procedure 29 and
14   33:
15         April 19, 2024: Defendant’s renewed post-trial motions
16         May 3, 2024: Government’s opposition to defendant’s renewed post-trial motions
17         May 8, 2024: Defendant’s reply to government’s opposition to defendant’s renewed post-trial
18         motions
19         A motion hearing on the renewed post-trial motions will be held on May 17, 2024 at 9:30 a.m.
20         The sentencing hearing currently set for May 17, 2024 is reset to June 28, 2024 at 9:30 a.m.
21

22         IT IS SO ORDERED.
23

24   DATED: April 18, 2024                        ____________________________________
                                                        HONORABLE JON S. TIGAR
25                                                      United States District Judge
26
27

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     [PROPOSED] ORDER SETTING POST-TRIAL BRIEFING SCHEDULE AND RESETTING SENTENCING HEARING
     United States v. Rothenberg, 4:20-CR-00266-JST
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